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                       Exhibit J
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                                     EBER BROS. WINE & LIQUOR
                                   CORPORATION RETIREMENT PLAN

                                        FINANCIAL STATEMENTS
                                                   AND
                                      SUPPLEMENTAL SCHEDULES.
                                        FOR THE YEARS ENDED
                                         MAY 31 , 2012 AND 2011
                                                   AND
                                   INDEPENDENT AUDITORS' REPORT




                                                           NNNN
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           EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                     May 31 , 2012 and 2011

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                                 □AVIE 111               KAPLAN
                                           Certified Public Accountants



                                INDEPENDENT AUDITORS' REPORT



Plan Administrator and Participants
Eber Bros. Wine & Liquor Corporation Retirement Plan


We were engaged to audit the financial statements of Eber Bros. Wine & Liquor Corporation
Retirement Plan as of May 31, 2012 and 2011 , and for the years then ended, and the supplemental
schedule as of and for the year ended May 31 , 2012 as listed in the accompanying index. These
financial statements and supplemental schedule are the responsibility of the Plan's management.

As permitted by 29 CFR 2520.103-8 of the Department of Labor's Rules and Regulations for
Reporting and Disclosure under the Employee Retirement Income Security Act of 1974, the plan
administrator instructed us not to perform, and we did not perform, any auditing procedures with
respect to the information summarized in Note 3, which was certified by Canandaigua National Bank,
the trustee of the Plan, except for comparing the information with the related information included in
the financial statements and supplemental schedule. We have been informed by the plan
administrator that the trustee holds the Plan's investment assets and execute investment
transactions. The plan administrator has obtained a certification from the trustee as of and for the
years ended May 31, 2012 and 2011 , that the information provided to the plan administrator by the
trustee is complete and accurate.

The accompanying financial statements and supplemental schedule have been prepared assuming
that the Plan will continue as a going concern. As discussed in Note 8, the Plan sponsor has been
unable to meet its IRS minimum funding requirements for both of the years ended May 31 , 2012 and
2011 as determined by the Plan's actuary. These conditions raise substantial doubt about the Plan's
ability to continue as a going concern. Management's plans in regard to these matters are also
described in Note 8. The financial statements and supplemental schedule do not include any
adjustments that might result from the outcome of this uncertainty.

Because of the significance of the information that we did not audit and the significance of the
uncertainty described in the preceding paragraph, we are unable to, and do not, express an opinion
on the accompanying financial statements and schedule taken as a whole. The supplemental
schedules are presented for the purpose of additional analysis and are not a required part of the
financial statements but are required by the Department of Labor's Rules and Regulations for
Reporting and Disclosure under the Employee Retirement Income Security Act of 1974. The form
and content of the information included in the financial statements and schedules, other than that
derived from the information certified by the trustee, have been audited by us in accordance with
auditing standards generally accepted in the United States of America and, in our opinion, are
presented in compliance with the Department of Labor's Rules and Regulations for Reporting and
Disclosure under the Employee Retirement Income Security Act of 1974.




March 4, 2013
                                                       -1-

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              EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                         Statements of Net Assets Available for Benefits
                                    May 31, 2012 and 2011

                                                                       2012           2011

                                            ASSETS

Investments                                                         $4,745,439      $5,044,971

Receivables

   Employer contribution                                                               179,000
   Accrued interest and dividends                                          14,350       17,111
                                                                           14,350      196,111

Net assets available for benefits                                   $4,759,789      $5,241,082




                        The accompanying Notes to Financial Statements
                            are an integral part of these statements.
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               EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT P.LAN

                    Statements of Changes in Net Assets Available for Benefits
                          For the Years Ended May 31, 2012 and 2011

                                                                                          2011

                                              INCOME

Investment income {loss)

   Interest and dividends                                           $     210,940    $     183,059
   Miscellaneous                                                           (2,761)
   Net appreciation (depreciation) in fair value of investments          (199,094)        482,834
                                                                           9,085          665,893
Employer contribution                                                    203,000          381,000
                                                                         2121085         1,046,893



                                             EXPENSES

Benefits paid to participants                                            593,688          778,781

Administrative expenses                                                    99,690           60,495

Transfers out of the plan                                                                   47,430
                                                                         693,378          886,706

   Net increase (decrease)                                               (481,293)         160,187

Net assets available for benefits

   Beginning                                                            5,241,082        5,080,895

   Ending                                                           $4,759,789       $ 5,241,082




                         The accompanying Notes to Financial Statements
                             are an integral part of these statements.
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            EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                 Notes to Financial Statements
                                    May 31 , 2012 and 2011

1.   Description of Plan

     The following description of the Eber Bros. Wine & Liquor Corporation Retirement Plan (the
     Plan) provides only general information. Participants should refer to the Plan agreement for a
     more complete description of the Plan's provisions.

     General

     The Plan was established April 1, 1954, and the most recent amendment was effective
     December 15, 2010. The Plan is a defined benefit plan which provides for participation of
     substantially all non-union employees of Eber Bros. Wine & Liquor Corporation and Eber
     Bros. Wine & Liquor Metro, Inc. (Company) after one year of employment. The Plan is also
     subject to the provisions of the Employee Retirement Income Security Act of 1974 (ERISA).

     On November 29, 2000, the Plan was amended to freeze the accrual of plan benefits as of
     December 31 , 2000. As a result of the freeze, all participants are fully vested.

     On March 30, 2007, the Company ceased New York State operations resulting in the
     termination of employment of over 90% of the active employees participating in the plan.

     Participation

     Prior to the Plan being frozen , each employee was eligible to participate in the Plan after
     completing one year of service which is defined as the completion of 1,000 hours of service
     during their first twelve months of employment. Upon meeting this requirement, Plan
     participation began on the following June 1 or December 1.

     Contributions

     Contributions from the Company are accrued based on actuarial estimates, which provide for
     adequate funding and sufficient assets necessary to meet the expected payments of benefits
     to beneficiaries of the Plan. Prior to 2008 it had been the policy of the Company to fund at
     least the amount necessary to satisfy the minimum funding requirements of ERISA. The
     amount to be funded is subject to annual review by the management of the Company and its
     consulting actuaries. The contribution needed to satisfy the minimum funding requirements of
     ERISA was not made for each of the years ended May 31 , 2012 and 2011. Waivers were
     requested from the Internal Revenue Service for both 2012 and 2011. In 2011, the IRS
     issued a funding waiver to defer funding for prior years.

     Pension benefits

     Effective June 1, 1989, employees (except for Rochester Liquor salespersons) w ith five or
     more years of service are entitled to the following annual pension benefits beginning at normal
     retirement age of sixty-five.




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             EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                       Notes to Financial Statements
                                          May 31 , 2012 and 2011

1. .   Description of Plan (Continued)

       Pension benefits (Continued)

       The greater of (a) or (b) :

       a. The participants' accrued benefit on May 31 , 1984 under the terms of the Plan on that
          date.

       b. 80% of the average of the highest five consecutive calendar years within the last ten years
          of employment of qualifying compensation multiplied by the number of years and
          completed months of service plus 55% of the amount by which that five-year average
          compensation exceeds the average of the social security wage bases for the thirty-five
          year period ending with the year in which the participant retires, rounded down to the
          nearest $100 multiplied by the number of years and completed months of service up to a
          maximum of thirty-five years. -Rochester Liquor salespersons are entitled to thirty-four
          dollars per month for each year of benefit service from the date of hire up to June 1, 1988
          plus the above calculation based on benefit service after December 31 , 2000.

       The Plan permits early retirement at ages fifty-five through sixty-four if the employee has
       completed ten or more years of service. Early retirement pension benefits are the same as
       calculated above, reduced by five percent for each year before age 65 payment is to begin.
       Vested employees may elect to receive the value of their accumulated benefit upon retirement
       termination in one of the following ways:

               I.     Five, ten and fifteen-year certain and continuous options.

               II.    Contingent annuitant options.

               Ill.   Life annuity (for married participants).

               The maximum benefit limitations of Section 415 of the lnterhal Revenue Code, as
               amended by the Tax Reform Act of 1986, have been reflected in the Plan.

       The Plan was amended to freeze the accrual of plan oenefits as of December 31, 2000.

       Death and disability benefits

       Upon death of a participant who has accumulated contributions which are still credited, his or
       her beneficiary shall be paid at least the accrued benefit attributable to the accumulated
       contributions. Disability benefits are available to vested employees based on years of
       participation to date of termination .




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             EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                   Notes to Financial Statements
                                      May 31, 2012 and 2011

1.   Description of Plan (Continued)

     Administrative expenses

     Administrative costs of the Plan are primarily paid from plan assets. For 2012 and 2011,
     administrative expenses consisted of the following:

                                                                           2012              2011

            Total administrative expenses                              $    99,690       $    60,495
            Less: Expenses paid by the plan sponsor

                                                                       $    99.690       $    60.495
2.   Summary of Significant Accounting Policies

     Basis of accounting

     The accompanying financial statements have been prepared on the accrual basis of
     accounting and present the net assets available for plan benefits and changes in those net
     assets.                      ·

     Use of estimates

     The preparation of financial statements in conformity with accounting principles generally
     accepted in the United States of America requires the plan administrator to make estimates
     and assumptions that affect certain reported amounts and disclosures. Accordingly, actual
     results may differ from those estimates.

     Fair value measurements

     Financial Accounting Standards Board (FASB) Accounting Standards Codification (ASC)
     Topic 820, Fait Value Measurements, establishes a framework for measuring fair value. That
     framework provides a fair value hierarchy that prioritizes the inputs to valuation techniques
     used to measure fair value. The hierarchy gives the highest priority to unadjusted quoted
     prices in active markets for identical assets or liabilities (level 1 measurements) and the lowest
     priority to unobservable inputs (level 3 measurements). The three levels of the fair value
     hierarchy under FASB ASC Topic 820 are described below:

            Level 1        Inputs to the valuation methodology are unadjusted quoted prices for
                           identical assets or liabilities in active markets that the Plan has the
                           ability to access.

            Level 2        Inputs to the valuation methodology include:

                               •   Quoted prices for similar assets or liabilities in active markets;




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            EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                   Notes to Financial Statements
                                      May 31, 2012 and 2011

2.   Summary of Significant Accounting Policies (Continued)

     Fair value measurements (Continued)

                               •   Quoted prices for identical or similar assets or liabilities in
                                   inactive markets;

                               •   Inputs other than quoted prices that are observable for the asset
                                   or liability;

                               •   Inputs that are derived principally from or corroborated by
                                   observable market data by correlation or other means.

                           If the asset or liability has a specific (contractual) term, the Level 2 input
                           must be observable for substantially the full term of the asset or liability.

            Level 3        Inputs to the valuation methodology are unobservable and significant to
                           the fair measurement.

     The asset's or liability's fair value measurement level within the fair value hierarchy is based
     on the lowest level of any input that is significant to the fair value measurement. Valuation
     techniques used need to maximize the use of observable inputs and minimize the use of
     unobservable inputs.

     Following is a description of the valuation methodologies used for assets measured at fair
     value. There have been no changes in the methodologies used at May 31 , 2012 and 2011 .

            Common stocks, corporate bonds and U.S. government securities: Valued at the
            closing price reported on the active market on which the individual securities are
            traded .

            Mutual funds: Valued at the net asset value ("NAV") of shares held by the Plan at the
            end of the year.

            Cash equivalents: Includes money market accounts, certificates of deposit, and all
            highly liquid debt instruments purchased with an original maturity date of three months
            or less.

     The methods described above may produce a fair value calculation that may not be indicative
     of net realizable value or reflective of future fair values. Furthermore, while the Plan believes
     its valuation methods are appropriate and consistent with other market participants, the use of
     different methodologies or assumptions to determine the fair value of certain financial
     instruments could result in a different fair value measurement at the reporting date.

     Revenue recognition

     Purchases and sales of securities are recorded on the trade date basis.              Interest and
     dividends are recorded on the accrual basis.


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           EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                  Notes to Financial Statements
                                     May 31, 2012 and 2011

2.   . Summary of Significant Accounting Policies (Continued)

      Actuarial present value of accumulated plan benefits

      Accumulated plan benefits are those future periodic payments, including lump-sum
      distributions, that are attributable under the Plan's provisions to the service employees have
      rendered. Accumulated plan benefits include benefits expected to be paid. to (a) retired or
      terminated employees or their beneficiaries, (b) beneficiaries of employees who have died and
      (c) present employees or their beneficiaries.         Benefits under the Plan are based on
      employees' compensation. The accumulated plan benefits for active employees are based on
      their compensation ending on the date as of which the benefit information is presented (the
      valuation date). Benefits payable under all circumstances - retirement, death, disability and
      termination of employment - are included to the extent they are deemed attributable to
      employee service rendered to the valuation date. The actuarial present value of accumulated
      plan benefits is determined by an actuary from Benefits Management, Inc. and is that amount
      that results from applying actuarial assumptions to adjust the accumulated plan benefits to
      reflect the time value of money (through discounts for interest) and the probability of payment
      (by means of decrements such as for death, disability, withdrawal or retirement) between the
      valuation date and the expected date of payment.

      The actuarial present value of accumulated plan benefits and the changes in those benefits as
      of June 1, 2012 and 2011 and for the years ended May 31 , 2012 and 201 1 are as follows :

                                                                         2012             2011

      Actuarial Present Value of Accumulated
         Plan Benefits at Beginning of Year                           §7.601.949       §7,807,598
      Benefits Accumulated and Actuarial Experience                      (63,158)          16,7,66
      Benefits Paid                                                     (593,688)        (778,781)
      Interest Due to Decrease in the Discount Period                    547,883          556,366
      Net Decrease                                                      (108.963)        (205,649)

      Actuarial Present Value of Accumulated
         Plan Benefits at End of Year                                 $Z1492,986      $L60:l.949
      Composition:
        Vested Benefits
           Participants Receiving Benefits                            $4,960,920      $5,067 ,126
           Other Participants                                          2,532,066       2,534,823

             Total Actuarial Present Value of
                Accumulated Plan Benefits                             $Z.492,986      $7,601,949




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            EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                 Notes to Financial Statements
                                    May 31, 2012 and 2011

2.   Summary of Significant Accounting Policies (Continued)

     Actuarial present value of accumulated plan benefits (Continued)

     Significant assumptions used to determine the actuarial present value of accumulated plan
     benefits were as follows:

     Economic

     Investment Return            The investment return for determining the minimum funding for
                                  the plan as of June 1, 2012 and for the year ended May 31 ,
                                  2012 is prescribed by the Internal Revenue Service and is as
                                  follows:

                                  1.84% for benefits expected to be paid in 2012 - 2016
                                  4.79% for benefits expected to be paid in 2017 - 2031
                                  5.90% for benefits expected to be paid in 2032 and beyond

                                  The effective interest rate for the Plan based on the above
                                  individual rates is 5,11 %.

                                  7.50% pre-retirement and 6.00% post-retirement is used to
                                  determine the Actuarial Present Value of Accumulated Benefits
                                  under FASB ASC Topic 960, Defined Benefit Pension Plans, as
                                  of June 1, 2012 and for the year ended May 31, 2012.

                                  5.00% is used for the Discount Rate for Purposes of Calculating
                                  the Pension Expense under FASS ASC Topic 715,
                                  Compensation - Retirement Benefits, while 7.50% is used for the
                                  Long-Term Rate of Return as of June 1, 2012 and for the year
                                  ended May 31 , 2012.



     Mortality                    2012 Combined Applicable Mortality Table as prescribed by the
                                  Internal Revenue Service as of June 1, 2012 and for the year
                                  ended May 31 , 2012.

                                  2011 Combined Applicable .Mortality Table as prescribed by the
                                  Internal Revenue Service as of June 1, 2011 and for the year
                                  ended May 31, 2011.




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           EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                 Notes to Financial Statements
                                    May 31, 2012 and 2011

2.    Summary of Significant Accounting Policies (Continued)

      Actuarial present value of accumulated plan benefits (Continued)

      Other (Continued)

      Withdrawal                   Sample rate of termination per 100 partidpants:



                                   25                                    9.7
                                   40                                    7.8
                                   55                                    1.5

      Expenses                     Equal to the average of the prior two years' administrative
                                   expenses, rounded to the nearest $1 ,000.

      Retirement Age               Normal retirement age or the age on the valuation date,
                                   whichever is larger.

      Percentage Married

      Marital Characteristics      W ives three years younger than husbands

      The above actuarial assumptions are based on the presumption that the Plan will continue. If
      the Plan were to terminate, different actuarial assumptions and other factors may be
      applicable in determining the actuarial present value of accumulated plan benefits.

      Payment of benefits

      Benefits are recorded when paid.

      Subsequent events

      -The Plan administrator evaluated events occurring between the end of the most recent fiscal
       year and March 4, 2013, the date the financial statements were available to be issued.

 3.   Information Certified by the Trustee and the Custodian

      The plan administrator has elected the method of compliance permitted by 29 CFR 2520.103-
      8 of the Department of Labor's Rules and Regulations for Reporting and Disclosure under
      ERISA. Accordingly, the trustee of the Plan, Canandaigua National Bank and Trust and the
      custodian of the Plan, Northern Trust Co., have certified to the completeness and accuracy of
      all investments reflected on the accompanying statements of net assets available for benefits,
      the schedule of reportable transactions, the schedule of assets held for investment purposes
      and the related investment activity reflected in the statements of changes in net assets
      available for benefits.



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           EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                  Notes to Financial Statements
                                     May 31, 2012 and 2011

4.   Investments

     The following presents investments at May 31, 2012 and 2011 that represent five percent or
     more of the Plan's net assets.

                                           .............. 2012 ............. .      . ............. 2011 .. .. ... ..... ..
                                              # of           Fair Market              # of              !=air Market
                                            Shares               Value               Shares                Value

     Cash equivalent:
        Northern Institutional
            Diversified Assets Portfolio     262,361            $262,361                         *                      *
     Common stock:
        Dodge & Cox Income Fund                56,269          $769,202                 56,269              $763,012
        Fidelity High Income                   54,754          $484,023                 54,754              $502,640
        Fidelity Strategic Income              43,389'         $475,977                 43,389              $493,332

     * Less than 5%

     During 2012 and 2011, the Plan 's investments (including investments bought, sold and held
     during the year) appreciated as follows:

                                                                                    2012                     2011

            U.S. Government securities                                       $                          $      (6,174}
            Common stock                                                            (187,529)                455,628
            Corporate bonds                                                          (11,565)                 33,380

                                                                                 $ (:l99,Q9~)           $    482.834

     The fair value of investments determined to be level 1 assets as of May 31, 2012 and 2011
     consisted ·of:

                                                                                    2012                     2011

     Cash equivalents                                                            $ 262,361              $     167,634
     Common stock                                                                 3,771,363                 3,984,601
     Corporate bonds                                                                711 715                   892,736

                                                                                 $4,745,439             $5 1 04~,9Z1




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            EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                 Notes to Financial Statements
                                    May 31 , 2012 and 2011

5.   Reconciliation of Financial Statements to Form 5500

     The following is a reconciliation of net income (loss) per the financial statements to Form
     5500:

                                                                          2012            2011

     Net income (loss) per the financial statements                  $ (481 ,293)     $   160,187
     Add: Adjustment for retroactive IRS funding reduction                                492,404
     Add: Transfers out of plan                                                            47 430

     Net income per Form 5500                                        $    (481,293)   $   700,021
     Employer contributions per the financial statements              $ 203,000       $   381 ,000
     Add: Adjustment for retroactive IRS funding reduction                                492,404

     Employer contributions per Form 5500                             $   203,000     $   8:Z3,404
     For the year ended May 31 , 2011 , an IRS fund ing waiver was issued that reduced required
     contributions for prior years . This adjustment will be carried back for 5500 purposes but the
     net effect is reflected in the financial statements in 2011 .

6.   Plan Termination

     Should the Plan terminate at some future time, its net assets generally will not be available on
     a pro rata basis to provide participant's benefits. Whether a particular participant's
     accumulated plan benefits will be paid depends on both the priority of those benefits and the
     level of benefits guaranteed by the Pension Benefit Guarantee Corporation at that time .
     Some benefits may be fully or partially provided for by the then existing assets and the PBGC
     Guarantee while other benefits may not be provided for at all.

7.   Tax Status

     The Internal Revenue Service has determined and informed the Company by a letter dated
     June 23, 1995, that the Plan and related trust are designed in accordance with applicable
     sections of the Internal Revenue Code (IRC). The Plan has been amended since receiving
     the determination letter. However, the plan administrator and the Plan's tax counsel believe
     that the Plan is designed and is currently being operated in compliance with the applicable
     requirements of the IRC.




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             EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                  Notes to Financial Statements
                                     May 31, 2012 and 2011

8.   Going Concern

     The Plan is a single-employer defined-benefit pension plan subject to the minimum funding
     standards in sections 412 and 430 of the Internal Revenue Code. In August, 2009, the Plan
     Sponsor applied to the Internal Revenue Service (IRS) for a waiver of the Internal Revenue
     Code's minimum funding standard for the plan year ended May 31, 2009. In February, 2012,
     the IRS conditionally approved that application, and granted a waiver of the funding standards
     for the plan year ended May 31, 2009, subject to certain conditions. After August, 2009, the
     Plan sponsor made certain additional contributions to the Plan, but has not paid the full
     amount of contributions required under the Internal Revenue Code's minimum funding
     standards. This resulted in an accumulated funding deficiency as of May 31 , 2012 in the
     amount of $805,119. In addition, quarterly installments of $224,946 that were due on
     September 15, 2012 and December 15, 2012, have not been paid. As of the report date, the
     Plan has not been notified by the IRS regarding this deficiency. This funding deficiency raises
     substantial doubt about the Plan 1s ability to continue as going concern . In the event of a Plan
     termination, the net assets of the Plan would be distributed in accordance with the provisions
     of the Plan document. No provisions for the above uncertainty have been made in the Plan's
     financial statements.




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                     EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                 Schedule of Assets Held for Investment Purposes
                                                  May 31, 2012

          Form 5500, Schedule H, Part IV, Line 4i - Schedule of Assets Held for Investment Purposes
                                        EIN #XX-XXXXXXX, Plan #001

                                                                      (c)
(a)                       (b)                       Description of Investments, Including           (e)
            Identity of Issue, Borrower,              Maturity Date, Rate of Interest,            Current
              Lessor or Similar Party                 Collateral, Par or Maturity Value            Value

 * Northern Institutional Diversified
       Assets Portfolio                        262,361 Shares Cash Equivalent                 $    262,361

      3M Co.                                   350 Shares Common Stock                                29,544

      Abbott Laboratories                      400 Shares Common Stock                                24,716

      Altria Group Inc.                        500 Shares Common Stock                                16,095

      Amgen Inc.                               175 Shares Common Stock                                12,166

      Apache Corp.                             175 Shares Common Stock                                14,241

      AT&T Inc.                                450 Shares Common Stock                                15,376

      Bristol-Myers Squibb Co.                 1,000 Shares Common Stock                              33,340

      Chevron Corp.                            500 Shares Common Stock                                49,155

      Chubb Corp.                              450 Shares Common Stock                                32,431

      Coca Cola Co.                            400 Shares Common Stock                                29,892

      Columbia Acorn Class Z                   4,898 Shares Common Stock                           143,962

      Conoco Phillips                          421 Shares Common Stock                                21,959

      Deere & Co .                             350 Shares Common Stock                                25,854

      Disney Walt Co.                          550 Shares Common Stock                                25,141

      Dodge & Cox Income Fund                  56,269 Shares Common Stock                          769,202

      DWS Dreman Small Cap Value               4,431 Shares Common Stock                           148,836

      EMC Corp. Mass                           1,000 Shares Common Stock                              23,850




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                    EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                   Schedule of Assets Held for Investment Purposes
                                                    May 31 , 2012

          Form 5500, Schedule H, Part IV, Line 4i - Schedule of Assets Held for Investment Purposes
                                       EIN #XX-XXXXXXX, Plan #001

                                                                        (c)
(a)                       (b)                         Description of Investments, Including       (e)
            Identity of Issue, Borrower,                Maturity Date, Rate of Interest,        Current
              Lessor or Similar Party                   Collateral. Par or Maturity Value       Value

      Exxon Mobil Corp.                          500 Shares Common Stock                              39,315

      Fastenal Company                           950 Shares Common Stock                              42,019

      Fidelity Advisors Small Cap                3,488 Shares Common Stock                            77,987

      Fidelity High Income                       54 ,754 Shares Common Stock                     484,023

      Fidelity International Discovery Fund      3,396 Shares Common Stock                            94,007

      Fidelity Strateg ic Income                 43,389 Shares Common Stock                      475 ,977

      Franklin Templeton Global Bond Inst.       16,707 Shares Common Stock                      205,160

      General Dynamics Corp.                     200 Shares Common Stock                              12,802

      General Mills Inc.                         800 Shares Common Stock                              30,624

      Harbor International Fund                  1,459 Shares Common Stock                            77,544

      Home Depot Inc.                            425 Shares Common Stock                              20,970

      Home Properties Inc.                       600 Shares Common Stock                              35 ,964

      Intl. Business Machines Corp.              250 Shares Common Stock                              48,225

      !shares MSC! Canada Index                  100 Shares Common Stock                               2 ,532

      JP Morgan Chase & Co.                      600 Shares Common Stock                              19,890

      Kohls Corp.                                450 Shares Common Stock                              20 ,619

      Lauder Estee Co. Class A                   600 Shares Common Stock                              32,490

      McKesson Corporation                       400 Shares Common Stock                              34,912

      MFC !shares Barclays                       750 Shares Common Stock                              90,983




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                       EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                                  Schedule of Assets Held for Investment Purposes
                                                   May 31, 2012

             Form 5500, Schedule H, Part IV, Line 4i - Schedule of Assets Held for Investment Purposes
                                           EIN #XX-XXXXXXX, Plan #001

                                                                      (c)
(a)                          (b)                    Description of Investments, Including            (e)
               Identity of Issue, Borrower,           Maturity Date, Rate of Interest,             Current
                 Lessor or Similar Party              Collateral, Par or Maturity Value            Value

      Microchip Technology Inc.                 800 Shares Common Stock                                  24,816

      NextEra Energy Inc.                       400 Shares Common Stock                                  26,136

      Oracle Corporation                        1,200 Shares Common Stock                                31 ,764

      Petsmart Inc.                             500 Shares Common Stock                                  32,220

      Philip Morris Intl, Inc.                  225 Shares Common Stock                                  19,015

      Phillips 66                               210 Shares Common Stock                                   6,306

      Praxair, Inc.                             150 Shares Common Stock                                  15,936

      Raytheon Co.                              400 Shares Common Stock                                  20,128

      Schlumberger Ltd.                         275 Shares Common Stock                                  17,394

      State Street Corp.                        500 Shares Common Stock                                  20,605

      T. Rowe Price Mid-Cap                     7,076 Shares Common Stock                            156,300

      United Parcel Service Inc                 350 Shares Common Stock                                  26,229

      Unitedhealth Group Inc.                   357 Shares Common Stock                                  19,910

      V.F. Corp                                 300 Shares Common Stock                                  42 ,312

      Vanguard REIT ETF                         500 Shares Common Stock                                  31,260

      Wells Fargo & Company                     600 Shares Common Stock                                  19,230

      Bank Amer Corp.                           Corporate Bonds, 1/15/13 maturity date,
                                                4.875% interest, $50,000 par value                       50,873

      Barclays Bank                             Corporate Bonds, 1/8/20 maturity date,
                                                5.125% interest, $100,000 par value                  107,232

      Dell                                      Corporate Bonds, 4/15/14 maturity date,
                                                5.625% interest, $100,000 par value                  108,922

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                    EBER BROS. WINE & LIQUOR CORPORATION RETIREMENT PLAN

                               Schedule of Assets Held for Investment Purposes
                                                May 31, 2012

         Form 5500, Schedule H, Part IV, Line 4i - Schedule of Assets Held for Investment Purposes
                                       EIN #XX-XXXXXXX, Plan #001

                                                                    (c)
(a)                     (b)                       Description of Investments, Including          (e)
            Identity of Issue, Borrower,            Maturity Date , Rate of Interest,          Current
              Lessor or Similar Party               Collateral, Par or Maturity Value           Value



      GE Capital Corp                        Corporate Bonds, 12/15/19 maturity date,
                                             5.15% interest, $75,000 par value                       75,029

      General Electric Cap Corp.             Corporate Bonds, 2/15/15 maturity date,
                                             5.5% interest, $100,000 par value                   108,308

      Goldman Sachs                          Corporate Bonds, 5/15/16 maturity date,
                                             6.0% interest, $100,000 par value                   106,927

      Goldman Sachs Group                    Corporate Bonds, 10/01/14 maturity date,
                                             5% interest, $50,000 par value                          51,842

      Goldman Sachs Group                    Corporate Bonds, 1/15/17 maturity date ,
                                             5.625% interest, $100,000 par value                102,581

                                                                                             $4,745,439




 * Party-in-interest




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